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                                    STATEMENT OF FACTS

        Your affiant, Raymond Adams, is a special agent assigned to the Federal Bureau of
Investigation Boston Division, Springfield, Massachusetts (“MA”) Resident Agency. In my duties
as a special agent, I investigate national security matters. Currently, I am tasked with investigating
criminal activity in and around the United States Capitol (“U.S. Capitol”) grounds on January 6,
2021. As a special agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. (all times herein are Eastern Standard Time). Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the U.S. Capitol and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices and closed captioning cameras, of persons present on
the scene depicted evidence of violations of local and federal law, including scores of individuals
inside the U.S. Capitol building without authority to be there.

       Open-source video and security cameras captured multiple images of Vincent J.
GILLESPIE (GILLESPIE), of Athol, Massachusetts (“MA”), participating in the riot at the U.S.
Capitol on January 6, 2021. FBI Boston sought the public’s assistance through a media
campaign and received multiple tips from the public identifying GILLESPIE. Tips included that
an individual wearing a sweatshirt with the Berkshire Nautilus (a Pittsfield, MA fitness club)
logo was involved in the riot. Other tips included Witness 1, a former neighbor of GILLESPIE;
Witness 2, who works at an American Automobile Association (“AAA”) location in MA and
recognized GILLESPIE from visits to AAA; Witnesses 3, 4, and 5 are employees of the Town of
Athol, where GILLESPIE resides and frequently attends meetings and pays his tax bills at the
Town Hall; and Witness 6, the manager of a local hardware store GILLESPIE visits. All six
witnesses independently, positively identified GILLESPIE in IMAGES 1, 2, 20, and 21 below.

       From at least 4:11 p.m. to at least 4:25 p.m., GILLESPIE was among the rioters on the
Lower West Terrance of the U.S. Capitol who engaged in pushing, shoving, yelling, and fighting
with law enforcement officers. Surveillance video depicts GILLESPIE wearing the Berkshire
Nautilus sweatshirt that generated the original tip (IMAGE 1).




                                      IMAGE 1



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                                      IMAGE 2
       A Capitol camera captured GILLESPIE at the Lower West Terrace tunnel on January 6,
2021 – still shots from that camera capture GILLESPIE as he struggled through the crowd,
eventually maneuvering through the rioters to the line of police officers who were defending the
Lower West Terrace exterior door. (IMAGES 3 and 4).




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                              IMAGE 3




                              IMAGE 4




                               4
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       Sill shots from video footage show GILLESPIE gain control of a police shield as he
approached the line of officers who were defending the door (IMAGES 5, 6, and 7).




                                             IMAGE 5




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                              IMAGE 6




                              IMAGE 7


                               6
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       GILLESPIE continued to participate in the pushing, shoving, and fighting with law
enforcement officers in the Lower West Tunnel (IMAGES 8 and 9).




                                           IMAGE 8




                                             IMAGE 9
            GILLESPIE is seen on video putting his hands on a law enforcement officer
       (IMAGE 10).


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                                            IMAGE 10

        Between approximately 4:11 p.m. and 4:13 p.m. GILLESPIE is seen and heard on
the body worn camera of a Metropolitan Police Department officer pushing his way
through the crowd towards the law enforcement officers; using a police shield to ram the
law enforcement officers; and screaming “traitor” more than once and “treason,” as he
points to a law enforcement officer (IMAGES 11, 12, 13, and 14).




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                           IMAGE 11




                           IMAGE 12



                               9
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                           IMAGE 13




                           IMAGE 14




                               10
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                      IMAGE 15




                               11
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                           IMAGE 16




                           IMAGE 17




                               12
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                                           IMAGE 18

         GILLESPIE sustained injuries in his struggle with law enforcement officers and the other
rioters (IMAGES 19 and 20).




                     IMAGE 19                                     IMAGE 20




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       Your affiant obtained IMAGE 21 from GILLESPIE’s Facebook page. Your affiant
believes this photograph is the same person identified by Witnesses 1, 2, 3, 4, 5, and 6 as being at
the U.S. Capitol as described above, on January 6, 2021.




                                             IMAGE 21

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Vincent GILLESPIE violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in section 1114 of this
title while engaged in or on account of the performance of official duties.

        Additionally, your affiant submits there is probable cause to believe that Vincent
GILLESPIE violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Further, based on the foregoing, your affiant submits that there is probable cause to believe
that Vincent GILLESPIE violated 18 U.S.C. §§ 1752(a)(1), (2), and (4), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engages in any act of physical violence against any person or property in any restricted building
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or grounds. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Finally, your affiant submits there is probable cause to believe that Vincent GILLESPIE
violated 40 U.S.C. §§ 5104(e)(2)(D),(E),(F), and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (E) obstruct, or impede passage through or within, the
Grounds or any of the Capitol Buildings; (F) engage in an act of physical violence in the Grounds
or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                     _________________________________
                                                     RAYMOND ADAMS
                                                     SPECIAL AGENT
                                                     FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 17 day of February 2022.


                                                                             Zia M. Faruqui
                                                                             2022.02.17
                                                                             10:15:56 -05'00'
                                                     ___________________________________
                                                     HONORABLE ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE




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